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                        EXHIBIT B                         TLP:WHITE




   Guidance on Undated and Incorrectly Dated
 Mail-in and Absentee Ballot Envelopes Based on
 the Pennsylvania Supreme Court’s Order in Ball
     v. Chapman, issued November 1, 2022

                    Date: November 3, 2022
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Guidance on Undated and Incorrectly Dated Mail-in and Absentee Ballot Envelopes Based on the
Pennsylvania Supreme Court’s Order in Ball v. Chapman, issued November 1, 2022

On November 1, 2022, the Pennsylvania Supreme Court issued an Order regarding undated and
incorrectly dated outer envelopes containing mail-in and absentee ballots. A copy of that Order is
attached. This email follows an initial communication from Deputy Secretary Jonathan Marks on the
evening of November 1, 2022 and provides additional guidance to counties regarding the Court’s
Order.
In light of the Court’s Order, the Department’s September 26, 2022 Guidance Concerning Examination of
Absentee and Mail-In Return Envelopes (“Envelope Guidance”) and Guidance Concerning Civilian
Absentee and Mail-In Ballot Procedures as it relates to undated and incorrectly dated outer envelopes is
modified as stated below and counties are directed as follows:
              • Returned ballots should be scanned into the SURE system immediately upon
              receipt. County election offices should ensure that previously received mail-in and absentee
              ballots have been scanned into SURE.
                       o As a reminder, election offices should date-stamp return envelopes for all mail-
                       in and absentee ballots immediately upon receipt.
              • Examine all mail-in and absentee ballots received to determine if the return envelopes
              for those ballots are signed and dated.
              • For ballots which are administratively determined to be undated or incorrectly dated,
              code that ballot as CANC – NO SIGNATURE within the SURE system.
              • Further, for those ballots that have been administratively determined to be undated or
              incorrectly dated, the ballots must be segregated from other ballots. Counties may prefer to
              keep segregated undated and incorrectly dated ballots organized by precinct, and
              alphabetically by last name within each precinct.
                       o The department strongly recommends that counties also segregate into
                       separate groups undated ballots versus incorrectly dated ballots.
              • For voters returning their ballots in person to election offices, office personnel should
              remind voters to confirm that they signed and correctly dated their ballots, and to provide
              them an opportunity to do so prior to submission.




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            Version                              Date                           Description
              1.0                               11/3/22                         Original issue




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